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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 22-mj-22
                                             :
ILYA LICHTENSTEIN, and                       :
                                             :
HEATHER MORGAN,                              :
                                             :
               Defendants.                   :

                    UNOPPOSED MOTION FOR PROTECTIVE ORDER

       The United States of America, by and through its attorney, the United States Attorney for
the District of Columbia, hereby respectfully moves the Court for the entry of a protective order
governing the production of discovery by the parties in the above-captioned case. The United
States and counsel for defendant have reached an agreement as to the proposed protective order.
Therefore, the United States is authorized to represent to the Court that the defendant does not
oppose this motion or the entry of the attached protective order.
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                           Respectfully submitted,

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                           UNITED STATES ATTORNEY
                           D.C. Bar No. 481052


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